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13                          UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15
     ANYA ROBERTS,                                   Case No. 2:23-cv-10492-AB-AGR
16

17
          Plaintiffs,                                PLAINTIFF’S EX PARTE
           v.                                        APPLICATION TO MODIFY
18                                                   SCHEDUING ORDER
19
   EXP REALTY, LLC; EXP WORLD
   HOLDINGS, INC.; MICHAEL L.
20 BJORKMAN; DAVIS S. GOLDEN;

21
   BRENT GOVE; EMILY KEENAN;
   GLENN SANFORD; MICHAEL
22 SHERRARD; and DOES 1-10,

23
          Defendants.
24

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                                                 1
                        PLAINTIFF’S EX PARTE APPLICATION TO MODIFY SCHEDULING ORDER
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 1                                                I.     INTRODUCTION
 2
                Plaintiffs, respectfully submit this Ex Parte Application (“Application”) for
 3
     an order modifying the scheduling orders in this action (Scheduling and Case
 4
     Management Order, Dkt. 80)1. The Parties submit this Application via the ex parte
 5
     process because parties have agreed to the extension of time in the related Acevedo
 6
     case 2:23-cv-01304 and understood the same was to be filed by Defendant eXp in
 7
     the Roberts matter with a corresponding schedule.
 8
                As the Court is aware, this is a complex lawsuit involving seven (7)
 9
     Defendants. Significant to the instant application, eXp Realty, LLC is a cloud
10
     based company with multiple ESI sources of discovery. Further, a number of
11
     counsel involved must individually appear on behalf of their client which has
12
     impacted the ease in which depositions are scheduled amongst no less than seven
13
     (7) counsel plus witnesses.
14
                The Parties have diligently pursued discovery in the related matter,
15
     engaged in multiple meet and confer efforts regarding ongoing discovery disputes,
16
     and attended hearings before the Magistrate Judge related to multiple discovery
17
     disputes to date in Acevedo. Counsel anticipates in large part the discovery taken in
18
     the Acevedo matter will apply to the Roberts case. Nevertheless, the Parties agree
19
     (less Defendant Golden, see footnote one(1)) that the scope and complexity of this
20
     case necessitates additional time to conduct additional fact and expert discovery,
21
     efficiently resolve future discovery disputes, continue mediation (the first session
22
     has already concluded and the second are scheduled for February 25th and 27th),
23
     and adequately prepare for this matter for trial. The Plaintiff respectfully requests
24
     that the Court modify the current Scheduling Order as set forth in the [Proposed]
25

26

27   1 As of the date of this filing, Plaintiff understand that all Parties are in agreement with this ex parte Application to Modify
     the Scheduling Order with the exception of Defendant David Golden. See, Declaration of Jennifer A. Lenze at Paragraph
28   2, attached hereto.
                                                                    2
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 1   Order Modifying Scheduling Order filed herewith.
 2

 3                             II. PROCEDURAL HISTORY
 4        Plaintiffs filed their initial complaint on December 14, 2023 (Dkt. 1).
 5   Defendants Glenn Sanford, eXp Realty, LLC, and eXp World Holdings, Inc. filed
 6   their Motion to Dismiss on March 11, 2024 (Dkt. 61); Defendant Brent Gove filed
 7   his Motion to Dismiss on March 16, 2024 (Dkt. 66); Defendant Bjorkman filed his
 8   Motion to Dismiss on February 20, 2024 (Dkt. 39); Defendant Golden filed an
 9   answer on March 22, 2024 (Dkt. 68). Defendant Keenan first filed an answer on
10   February 21, 2024 (Dkt. 42) and then a Motion to Dismiss on June 27, 2024 (Dkt.
11   86). The ruling on Ms. Kennan’s Motion to Dismiss is still pending with the Court.
12        The Court ruled on the other Motions to Dismiss on March 23, 2024
13   (Dkt.83). Plaintiffs’ filed their and their First Amended Complaint on June 13,
14   2024 (Dkt. 84). Defendants (except for Defendant Keenan) filed their Answers in
15   July of 2024 (Dkt. 93, Dkt. 94, Dkt. 88, Dkt. 85).
16        The Court’s initial Scheduling and Case Management Order was entered on
17   May 2, 2024 (Dkt. 80) with a discovery cut-off of December 6, 2024.
18        Pursuant to Local Rule 7-19.1 the Parties met and conferred about modifying
19   the current Scheduling Order along with the modifying the scheduling Order in
20   Acevedo. All counsel were in agreement with the exception of counsel for
21   Defendant Golden who could not consent based on an ongoing Declaratory
22
     Judgment action.
23
                                    III.    LEGAL STANDARD
24
           A scheduling order may be modified upon a showing of good cause. Fed. R. Civ.
25
     P. 16(b)(4). The most important factor in determining whether to modify a scheduling
26
     order is whether the party seeking the modification diligently worked to meet the initial
27
     deadline. See Federal Rules of Civil Procedure Rule 16 Advisory Committee Notes
28
                                                   3
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 1   (1983) amendment); Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th cir.
 2   1992) (“Rule 16(b)’s ‘good cause’ standard primarily considers the diligence of the
 3   party seeking the amendment.”); see also In re W. States Wholesale Nat. Gas Antitrust
 4   Litig., 715 F.3d 716, 737 (9th Cir. 2013) (citing Johnson and holding that while the
 5   court may take into account prejudice, the primary consideration is diligence). “The
 6   district court may modify the pretrial schedule if it cannot reasonably be met despite the
 7   diligence of the party seeking the extension.” Johnson, 975 F.2d at 609 (citations
 8   omitted). As explained, infra, the Parties have diligently engaged in discovery (and
 9   attempted to diligently engage in discovery), but despite their best efforts, due in large
10   part to the volume of discovery and counsel’s trial schedules, they simply cannot
11   properly prepare this complex matter for trial within the deadlines set forth in the
12   Scheduling Order.
13
         IV. GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
14
             Good cause exists for modification of the Scheduling Order. E.g., Kuschner
15
     v. Nationwide Credit, Inc., 256, F.R.D. 684, 687 (E.D. Cal. 2009) (finding good
16
     cause when the moving party was unable to meet deadlines due to matters
17
     unforeseen at the time of the issuance of the scheduling order and when the party
18
     was diligent in seeking a modification once it became apparent that the party could
19
     not comply with the scheduling order). At the time of that Stipulation related to the
20
     scheduling in this matter, it was anticipated that the Parties would have ample time
21
     to finish fact discovery in the months that followed. What has transpired as
22
     described above are significant discovery disputes and difficulties getting
23
     schedules aligned. Further, the Protective Order was just entered in this matter on
24
     December 16, 2024 (Dkt. 110) which frustrated discovery related to this matter.
25
             Following the issuance of the current deadlines and the negotiated
26
     stipulation related to the same, the significant issues that have arisen to impede the
27

28
     current schedule are as follows:
                                                    4
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 1          First, Counsel for Defendant Bjorkman’s and Defendant Golden’s counsel
 2   had trials proceed creating difficulty in the scheduling of depositions for the
 3
     months of November and December.2 See Declaration of Jennifer A. Lenze,
 4
     hereinafter “Lenze Dec.” at paragraph 1, submitted herewith. As the disclosures of
 5
     all Parties suggest, there are significant witnesses to be deposed in this action—
 6
     both Party witnesses, including company witnesses, and third parties. The Parties
 7
     have been diligent in working to schedule those depositions given the amount of
 8
     counsel to coordinate with per the Deposition Protocol.
 9
            Thus far, eight (8) depositions have been taken in the related action. See,
10
     Lenze Dec. at Paragraph 3. This includes two (partial) 30(b)(6) depositions
11
     relating to complaint handling and corporate structure (to be concluded and is
12
     noticed for December 16th, 2024 which is the only available date of all counsel in
13
     December); one of a former Board member of eXp World Holdings, Inc.; and two
14
     (2) third party witnesses. See, Lenze Dec. at Paragraph 3. Plaintiff had noticed
15
     three (3) additional Party depositions (Defendant Gove, Defendant Sanford, and
16
     Defendant Golden) in November but delayed them due to the discovery of
17
     documents related to the same. See, Lenze Dec. at Paragraph 4. Defendant eXp has
18
     likewise (unilaterally) noticed additional depositions that have been moved due to
19
     scheduling conflicts.
20
            The Parties are working diligently with regular meet and confers on both
21
     deposition scheduling and discovery issues. See, Lenze Dec. at 5. Counsel have
22
     exchanged dates for February and March and are working cooperatively to fill in
23
     all available dates. Id.
24
            Secondly, Defendant Golden produced the entirety of his cell phone which
25
     represents hundreds of thousands documents to review. See, Lenze Dec. at 6. This
26

27

28   2 Per the Discovery Protocol the Parties exchange available dates two months in advance.

                                                                5
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 1   hard copy was produced by the Las Vegas Police Department who produced it via
 2   hard copy to Defendant Golden who in turn provided the hard drive to Plaintiff.
 3         Critically, there is discovery in the form of production that remains in the
 4   form of custodial files in eXp’s control including but not limited to email and
 5   Facebook Workplace chats. See, Lenze Dec. at 7. Counsel for eXp has confirmed
 6   only the emails of one deponent (Defendant Sanford) has been “pulled” for review
 7   and production of those emails will be at the end of November. See, Lenze Dec. at
 8   7. Counsel for eXp and Sanford confirmed that they are working with their ESI
 9   vendors on the Facebook workplace chat production but it has not yet been pulled.
10   Plaintiffs have requested multiple custodial files in advance of those depositions
11   and are continuing to meet and confer on the remainder of the custodial files. Id.
12
           Despite the Parties’ best efforts, they simply cannot properly prepare this
13
     complex matter for trial within the deadlines set forth in the Court’s scheduling
14
     orders. In light of the current state of discovery, the ongoing document
15
     productions, the likelihood that the Parties may need to file additional discovery
16
     motions, and complex issues concerning causation and damages, the parties believe
17
     that an approximately 90 day extension is necessary to properly prepare this case
18
     for trial. See, Lenze Dec. at 8. The amended schedule, attached hereto as Exhibit A
19
     extends all case deadlines to align Acevedo case to allow time for necessary fact
20
     and expert discovery, including depositions and preparation of expert reports, and
21
     also to ensure that trial in this matter will not overlap with trials in other matters.
22
                                        V. CONCLUSION
23

24         For the foregoing reasons, Plaintiffs respectfully request that the Court
25   modify the current Scheduling Order.
26
                                              By: /s/ Jennifer A. Lenze
27
                                                  Jennifer A. Lenze (CA No 246858)
28                                                LENZE LAWYERS, PLC
                                                    6
                           PLAINTIFF’S EX PARTE APPLICATION TO MODIFY SCHEDULING ORDER
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 9                                               andrea@cohenhirsch.com
10
                                                 Attorneys for Plaintiffs
11

12

13

14
                                 CERTIFICATE OF SERVICE
15
          The undersigned hereby certifies that the foregoing was filed and served on all
16

17   counsel of record by way of email this 5th day of February 2025.

18

19
                                                       /s/ Jennifer Lenze
20                                                     Jennifer Lenze
21

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                                                   7
                          PLAINTIFF’S EX PARTE APPLICATION TO MODIFY SCHEDULING ORDER
